 Case 1:11-cr-00557-KAM Document 27 Filed 01/26/17 Page 1 of 4 PageID #: 100

                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
                                                    271 Cadman Plaza East
                                                    Brooklyn, New York 11201
TM:JMS/SD

                                                    January 26, 2017

By ECF

The Honorable Kiyo A. Matsumoto
United States District Court
Eastern District of New York
225 Cadman Plaza
Brooklyn, New York 11201


               Re:    United States v. Paulino Granados
                      Criminal Docket No. 11-557 (KAM)

Dear Judge Matsumoto:

                 On June 6, 2016, the defendant Paulino Ramirez-Granados pleaded guilty
pursuant to a plea agreement to count three of a twenty-one count indictment, charging him with
sex trafficking, in violation of 18 U.S.C. § 1591(a)(1), (a)(2) and (b)(1). The defendant is
scheduled to be sentenced by Your Honor on February 10, 2017.

I.     Factual Background

                 As the Pre-Sentencing Report (“PSR”) describes in great detail, the defendant,
along with his co-conspirators, participated in a sex trafficking conspiracy from October 1998 to
December 2011. (PSR ¶¶ 4-91). For over a decade, the defendant was involved in the family
business, which involved the defendant and his co-conspirators starting romantic relationships
with females in Mexico and then luring them to the United States with the false promise of a
better life. Each of these victims was transported by the defendant and his co-conspirators, with
the intent that they would engage in prostitution. (PSR ¶¶ 4-5). Once in the United States, the
defendants forced victims into prostitution by threats, coercion and violence. For each of the
victims, the defendant and his co-conspirators kept all of the proceeds from the prostitution.

               As part of his plea agreement, the defendant pled guilty to sex trafficking Jane
Doe #1. However, he was also responsible for the trafficking of Jane Doe #3, 9, and 10 and the
recruitment of Jane Doe #9 and Jane Doe #10. (PSR ¶¶ 1, 87-89). The defendant’s conduct
towards each of these victims shows the same pattern of criminal conduct and abuse. For
 Case 1:11-cr-00557-KAM Document 27 Filed 01/26/17 Page 2 of 4 PageID #: 101




example, in 2008, the defendant recruited Jane Doe #9 in Tenancingo, Mexico and, shortly after,
he began a relationship with her and planned a future with her in the United States, promising a
better standard of living and money to purchase a home for Jane Doe #9’s family in Mexico.
(PSR ¶ 57). He arranged for Jane Doe #9 to travel to the United States at which point the
defendant and his sister began soliciting Jane Doe #9 to work as a prostitute. Jane Doe #9 stated
that she did not want to work as a prostitute, at which point the defendant became verbally and
physically abusive. (PSR ¶ 59). His sister also pressured Jane Doe #9, showed her what to do as
a prostitute and provided her with contact information for drivers to jobs. As a result, Jane Doe
#9 worked for the defendant in the United States from October 2008 until October 2011. (PSR
¶¶ 57-60). The defendant kept Jane Doe #9 working by assaulting her and threatening to harm
her son if she did not obey the defendant. (PSR ¶ 60).

                Also in 2008, the defendant recruited Jane Doe #10 in Tenancingo, Mexico. As
he did with Jane Doe #9, the defendant dated Jane Doe #10 in Mexico. He eventually moved her
into his parents’ home, and impregnated her. (PSR ¶¶ 61-62). She gave birth to their child in
January 2009, after which the defendant enticed Jane Doe #10 to move to the United States with
a promise of a better life for her and their child. He said he would send Jane Doe #10 to the
United States first and then he would join her. (PSR ¶¶ 62-63). Upon Jane Doe #10’s arrival to
the United States, the defendant told her he did not have the money to come to the United States;
he explained that in order to pay off her smuggling debt, Jane Doe #10 must work as a prostitute.
(PSR ¶ 64). The defendant’s sister also instructed Jane Doe #10 on how to work as a prostitute.
The defendant told Jane Doe #10 that if she did not make and send money to Mexico by
prostituting, she would never see her child again. As a result of the threats, Jane Doe #10
worked for the defendant from approximately 2009 until 2011. (PSR ¶¶ 61-63).

                 The defendant’s co-conspirator, Antonio Lira-Robles, used a similar tactic to
recruit Jane Doe #1 in Tenancingo, by dating her. She became pregnant by Lira-Robles, and he
forced her to abort the child. (PSR ¶ 8). Lira-Robles then forced Jane Doe #1, through threats
and physical violence, to begin prostituting in Mexico City. (PSR ¶ 9). In June 2000, Lira-
Robles and Jane Doe #1 travelled to Queens, New York. (PSR ¶ 11). Upon their arrival, Jane
Doe #1 stated that she did not want to work as a prostitute, to which the Lira-Robles responded
by physically assaulting her. As a result, Jane Doe #1 worked for Lira-Robles in the United
States, including New York and Boston, from 2001 to 2003. (PSR ¶ 12). In 2003, Jane Doe #1
returned to Tenancingo to work. In 2008, Lira-Robles again threatened Jane Doe #1 and ordered
her to come back to the United States to work as a prostitute. Id. The defendant, Ramirez-
Granados, helped Lira-Robles smuggle Jane Doe #1 back into the United States. Because of
their threats, Jane Doe #1 agreed to return to the Bronx, New York to work. Id. Jane Doe #1

                                                2
 Case 1:11-cr-00557-KAM Document 27 Filed 01/26/17 Page 3 of 4 PageID #: 102




continued to work for Lira-Robles from 2008 to 2010 and provided all the proceeds to him and
to the defendant. (PSR ¶ 14).

               On March 31, 2015, as part of an ongoing investigation into the Granados Sex
Trafficking organization, the defendant was arrested in Mexico. (PSR ¶ 85).

II.    Objections to the Pre-Sentence Report

                In the plea agreement, the defendant’s United States Sentencing Guidelines
(“Guidelines”) range was estimated to be 235-293 months’ imprisonment. See Plea agreement
¶ 2. The United States Probation Department, however, calculated that the applicable guidelines
range is 292-365 months’ imprisonment. (PSR ¶ 166). The disparity between the estimated
Guidelines range in the plea agreement and the Guidelines calculation in the PSR is based, in
part, on the fact that the PSR adds a three-level enhancement for the defendant’s role in
trafficking Jane Doe #1 based on the abortion she sustained, which constituted a degree of injury
between life-threatening and serious pursuant to U.S.S.G. 2A3.1(b)(4)(C). Based on the facts of
this case, the government cannot prove that an injury “between life-threatening and serious”
within the meaning of the Sentencing Guidelines was foreseeable to the defendant himself, given
that Lira-Robles forced Jane Doe #1 to have an abortion prior to the time the defendant assisted
in trafficking Jane Doe #1.

               Accordingly, the government maintains that the applicable advisory Guidelines
range is 235 to 293 months. As the Court is aware, pursuant to the parties’ plea agreement, the
government has agreed not to take a position as to where within the Guidelines range the
sentence should fall or advocate for a sentence above the applicable Guidelines range. See Plea
agreement & 4(b) and (c).




                                                3
 Case 1:11-cr-00557-KAM Document 27 Filed 01/26/17 Page 4 of 4 PageID #: 103




IV.    Conclusion

               In sum, the defendant’s role in a cruel family business of recruiting young
women to force them into prostitution is significant. The government respectfully requests that
the Court consider the defendant’s criminal conduct involving his victims in fashioning an
appropriate sentence that will reflect the seriousness of the offense and deter criminal conduct.
See 18 U.S.C. § 3553(a).



                                                     Respectfully submitted,

                                                     ROBERT L. CAPERS
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CC: Clerk of the Court (KAM) (By ECF)
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                                                4
